











Opinion Issued December 13, 2007
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In The
Court of Appeals
For The
First District of Texas




NO. 01-07-00787-CV




IN RE RODERICK REESE., Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By petition for writ of mandamus, relator, Roderick L. Reese, challenges the
trial court’s Order.


  Relator does not include the Order or describe its contents.    
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Bland.


